        Case 4:06-cr-00106-LPR         Document 65       Filed 04/14/08      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                             PLAINTIFF

v.                                 No. 4:06CR00106-02 JLH

STANLEY CHARLES JOHNSON                                                           DEFENDANT


                                            ORDER

       On February 15, 2008, the Court accepted a change of plea from not guilty to guilty and did

so via videoconferencing pursuant to the request of the defendant, Stanley Charles Johnson. It has

come to the Court’s attention that the change of plea may be invalid because of the appearance of

the defendant via videoconferencing rather than in person. Therefore, the Court hereby sets aside

Johnson’s plea of guilty.

       IT IS SO ORDERED this 14th day of April, 2008.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
